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                   UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT
          Form 16. Circuit Rule 27-3 Certificate for Emergency Motion
    Instmetionsfor tlzisform: http://www.ca9.useourts.gov/forms{formI6instr"uctio11s.pdf

9th Cir. Case Number(s)            25-2935

Case Name       Epic Games, Inc. V. Apple Inc.

I certify the following:
The relief I request in the emergency motion that accompanies this certificate is
 Epic Games seeks for Apple's emergency motion for a partial stay (Case No.
 25-2935, Dkt. 7) and Apple's underlying appeal to be decided by the same panel
 that heard a prior appeal brought by Apple in this matter, Case No. 21-16695.




Relief is needed no later than (dare): May 28, 2025

The following will happen if relief is not granted within the requested time I
 If the motion to assign is not decided before a decision on Apple's emergency
 stay motion (Dkt. 7), then Epic's motion for assignment to the prior panel would
 be rendered partially moot. Apple has requested relief on its stay motion by no
 later than May 28, 2025. For the reasons stated M Epic's unopposed emergency
 motion to assign, Epic respectfully requests that this Court assign Apple's
 motion to stay to the prior panel before that motion is decided by a different
 panel.




I could not have filed this motion earlier because
 Apple's motion to stay the Injunction and motion to expedite the briefing were
 filed on May 7, 2025. Epic promptly requested Apple's position on the filing of
 the motion to assign on May 9, 2025. Apple informed Epic it would take no
 position on the filing of the motion to assign on May 10, 2025. Epic is filing
 this motion the earliest court day thereafter.

                 Feedback or questions about thllsform? Email us at forms@ca9.useourrs.gov

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I requested this relief in the district court or other lower court: F Yes 6 No
       If not, why not:
          The requested relief could not be decided by the district court.




I notified 9th Circuit court staff via voicemail or email about the filing of this
motion: 6 Yes (` No
        If not, why not:




I have notified all counsel and any unrepresented party of the filing of this motion:
       On (date): May 9, 2025

       By (method): Email
       Position of other parties: Unopposed
        Name and best contact information for each counsel/party notified:
                                                                                                         lllllll--_I

          Mark A. Perry
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          Washington, DC 20036
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          (202) 682-7511



I declare under penalty of perjury that the foregoing is true.

Signature      /s/ Gary A. Bornstein                                   Date May 12, 2025
(use "s/[typed name] " to sign e/ectronica/zvJI/ed documents)

                   Feedback or questions about thllsform? Email us at forms@ca9.useourrs.gov

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